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                                  ORDERED.


       Dated: August 29, 2018




                     UNITED STATES BANKRUPTCY COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION
                             www.flmb.uscourts.gov

In re:                                               Case No. 8:17-bk-03597-MGW
                                                     Chapter 7
Nilhan Financial, LLC,

      Debtor.
__________________________________/

                         ORDER CANCELING TRIAL
                     AND SETTING STATUS CONFERENCE

         THIS CASE came on for consideration without a hearing on the Court’s own

motion to schedule a status conference. The Chapter 7 Trustee, Good Gateway,

LLC, and SEG Gateway, LLC sought approval of a compromise. 1 Niloy Thakkar,

who has an ownership interest in the Debtor, objected. 2 So the Court scheduled the

parties’ compromise (and Thakkar’s objection to it) for trial for August 30, 2018, at




1
    Doc. No. 210.
2
    Doc. No. 220.
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9:30 a.m. Thakkar, however, has since withdrawn his objection to the proposed

compromise.

      The Court therefore will cancel the trial and hold a status conference to allow

the Trustee to proffer an evidentiary basis for the proposed compromise. Because the

time has run for objections, the Court will not consider any new objections to the

compromise. Accordingly, it is

      ORDERED:

      1.      The trial currently scheduled for August 30, 2018, at 9:30 a.m., on the

parties’ motion to compromise is CANCELED.

      2.      The Court will hold a status conference on the motion to compromise

on August 30, 2018, at 9:30 a.m., to allow the Trustee to proffer an evidentiary basis

for the proposed compromise.



The Clerk’s Office is directed to serve a copy of this Order on interested parties who
are not CM/ECF users.




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